        Case 3:23-cv-04155-YGR Document 10-16 Filed 08/17/23 Page 1 of 4




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13                              UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                           Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of           DECLARATION OF B
   themselves and all others similarly situated,            F   IN SUPPORT OF
17               Plaintiffs,
                                                            PLAINTIFFS’ MOTIONS FOR
                                                            PRELIMINARY INJUNCTION
18        v.                                                AND PROVISIONAL CLASS
                                                            CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4335192 2]
                   DECLARATION OF B       F   IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-16 Filed 08/17/23 Page 2 of 4




 1                 I, B        F   , declare:
 2                 1.       I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs' Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.       I am currently incarcerated at FCI Dublin, I was initially incarcerated at FCI
 6 Dublin beginning in approximately 1995, I was transferred to other facilities for a period
 7 of time and have been at FCI Dublin again since 2016. In the future BOP could transfer
 8 me to other BOP facilities, but at any point I could be transferred back to FCI Dublin.
 9                 3.       BOP and FCI Dublin’s inadequate systems for preventing, detecting, and
10 responding to sexual abuse have caused actual harm to myself and others incarcerated at
11 FCI Dublin and put myself and other incarcerated persons at substantial risk of serious
12 harm from sexual assault, harassment, and retaliation from staff.
13                 4.       When I was at FCI Dublin in around 1995, Officer Robinson pushed me
14 against a wall in the laundry room and rubbed his erection against my abdomen. He told
15 me this was “nothing new.” I was afraid that he was going to rape me, he ripped my shirt
16 and I screamed until people came towards the room and he stopped. I never reported
17 Officer Robinson because I knew I would be retaliated against, and he would not suffer
18 any consequences.
19                 5.       After I returned to FCI Dublin, around 2018, Officer O’Connor would, on a
20 regular basis, get behind me, hug me, and grope the front of my chest over my clothes.
21 This felt incredibly degrading, and I did not know what to do and felt I had no choice but
22 to let him. Several years later, in 2021, another guard, Officer Caston, assaulted me. He
23 said to me, “you’ve been in prison for a long time, I bet you’d love to be fucked.” He
24 pushed me into a room used for hair care then rubbed his body against mine so that I could
25 feel his erection. I remember wondering why he was interested in an old woman like me,
26 maybe he thought I would be more willing. While he was rubbing against me a PREA
27 announcement came on and he seemed to realize what he was doing was wrong. I pushed
28 past him and was able to get out of the room. I never reported these incidents because I
     [4335192 2]                                         2
                          DECLARATION OF B       F   IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                            PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-16 Filed 08/17/23 Page 3 of 4




 1 knew no one would do anything, and I could not trust the staff to keep my reports
 2 confidential. I was also afraid of retaliation and being transferred away from my daughter,
 3 who is also at FCI Dublin.
 4                 6.      When I returned to FCI Dublin in 2016, I was not provided adequate training
 5 and information about how to respond to sexual abuse. I remember being shown a video
 6 on PREA at some point but did not receive any follow up training, maybe just a handout or
 7 something and the announcements that would come on.
 8                 7.      There is no effective way to confidentially report sexual assault and abuse by
 9 staff at FCI Dublin. Because of the abuse and retaliation that has gone on for years, I do
10 not trust the people who work here. It’s well known that Lt. Putnam, the SIS officer who
11 has been in charge of investigating staff misconduct at FCI Dublin for years, does not keep
12 reports confidential. It’s also well known that staff retaliate against people who do report
13 staff misconduct. I know of people who reported staff misconduct and were then thrown
14 into the SHU, or transferred, or had their cells searched constantly for no reason.
15                 8.      FCI Dublin staff also do not seriously investigate reports of staff misconduct.
16 Investigations are frequently delayed and overseen by staff who know and work with the
17 offending staff member. Generally nothing happens as a result.
18                 9.      There is little to no confidential mental health care available to survivors of
19 sexual abuse and assault at FCI Dublin. It’s well known that the mental healthcare is very
20 bad, almost nonexistent, and there are not very many providers, and it’s difficult to get an
21 appointment. I also would not trust BOP mental healthcare providers to keep what I tell
22 them confidential.
23                 10.     There is little to no medical care available to survivors of sexual abuse and
24 assault at FCI Dublin. I have many medical issues, and I do not get the care that I need.
25 When I got COVID, my daughter and I were placed in the SHU. We did not have access
26 to commissary, or hygiene products, and staff rarely checked on us. My daughter had to
27 sleep on the floor for two weeks.
28 / / /
     [4335192 2]                                        3
                         DECLARATION OF B       F   IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                           PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
Case 3:23-cv-04155-YGR Document 10-16 Filed 08/17/23 Page 4 of 4
